                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
MPR/RCH/EMR                                        271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201


                                                   November 6, 2020

By FedEx

Cesar DeCastro, Esq.
7 World Trade Center, 34th Floor
New York, NY 10007

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

              Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. Please note the enclosed discovery
contains Protected Material and should be handled consistently with the Protective Order.
The government also requests reciprocal discovery from the defendant.
               By separate letter sent to you today, the government also is providing notice of
certain potential government witnesses’ photo identifications related to the defendant. The
government will provide additional such information as it becomes available. This letter is
subject to the Court’s Protective Order.
I.     The Government’s Discovery

       Enclosed please find:

          Information downloaded from the defendant’s electronic devices, previously
           provided to you on February 20, 2020 and Bates-numbered 0000032705, now
           Bates-numbered 000189365 to 000950521;
          Ledgers and Business and Financial Records, Bates-numbered 0000950522-
           0000951081, 0000953541-0000953740 and 0000954200-0000955694;
          Property Records, Bates-numbered 0000951082-0000951085;
          Mutual Legal Assistance Treaty requests and responses, Bates-numbered
           0000951086-0000953020;
          Intentionally Left Blank, Bates-numbered 0000953021-0000953040 and
           0000953533-0000953540;
          Recorded communications, Bates-numbered 0000953041-0000953532;
          Photos, Bates-numbered 0000953741-0000954194
        Files from Mexican law enforcement, Bates-numbered 0000954195-0000954198;
        Video evidence, Bates-numbered 0000954199-0000954199;
        Public records, Bates-numbered 0000955695-0000955721.

               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.

                                                  Very truly yours,

                                                  SETH D. DUCHARME
                                                  Acting United States Attorney

                                           By:     /s/
                                                  Michael P. Robotti
                                                  Ryan C. Harris
                                                  Erin M. Reid
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000

Enclosures

cc:    Clerk of Court (BMC) (via ECF)




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